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 9
                         UNITED STATES BANKRUPTCY COURT

10                        SOUTHERN DISTRICT OF CALIFORNIA

11                                          )   Case No: 18-06051-LT11
                                            )
12                                          )
     In re:                                 )   JAMES      KAVANAGH      AND   ROBIN
13                                          )
                                                KAVANAGHS’          COMPLAINT      TO
     CHRISTOPHER D. DOUGHERTY and           )
14
                                            )
                                                DETERMINE NONDISCHARGEABILITY
     NEREIDA I. DOUGHERTY,                      OF DEBTS PURSUANT TO 11 U.S.C.
                                            )
15
                                            )   SECTION 523(a)(2), 11 U.S.C. SECTION
                      Debtors.              )   523(a)(4), 11 U.S.C. SECTION 523(a)(6),
16
                                            )   11 U.S.C. SECTION 523(a)(12) AND 11
17                                          )   U.S.C. SECTION 523(a)(19)
                                            )
18                                          )
                                            )
19                                          )   DEMAND FOR JURY TRIAL
                                            )
20                                          )
                                                Judge: Honorable Laura Taylor
21   JAMES KAVANAGH; ROBIN      )
     KAVANAGH,                  )
22                              )
                 Plaintiffs,    )
23                              )
                  v.            )
24
                                )
25    CHRISTOPHER D. DOUGHERTY; )
      NEREIDA DOUGHERTY,        )
26                              )
                 Defendants.    )
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28                                          1
        JAMES AND ROBIN KAVANAGHS’ COMPLAINT FOR DETERMINATION OF DISCHARGEABILITY
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 1        James Kavanagh and Robin Kavanagh by and through their attorneys, LAW
 2   OFFICES OF MARK L. MILLER, bring this Adversary Complaint against Debtors
 3   Christopher Dougherty and Nereida Dougherty.
 4                                      JURISDICTION
 5     1. This is an adversary proceeding brought pursuant to Rule 7004(4) of the Fed. R.
 6        Bank. Procedure.
 7     2. This Court has subject matter jurisdiction; and this matter is a core proceeding
 8        under 28 U.S.C. Section 157 and Section 1334.
 9     3. Venue is proper in this Court pursuant to 28 U.S.C. Section 1409(a) because a
10        bankruptcy case concerning the defendants is pending before this Court.
11                                         PARTIES
12     4. Plaintiffs James and Robin Kavanagh (“PLAINTIFFS”) are a married elder-couple.
13        James Kavanagh is disabled. At all times mentioned herein, PLAINTIFFS were
14        residents of San Diego County, California.
15     5. Christopher Dougherty and Nereida Dougherty (“DEFENDANTS”), are a married
16        couple, who availed themselves of the United States Bankruptcy Code by
17        initiating a Chapter 11 bankruptcy proceeding filed with this Court.
18     6. At all times mentioned in the Complaint, Debtor Christopher Dougherty held
19        himself out to be a “certified and licensed” financial manager who would
20        appropriately take and invest the PLAINTIFFS’ retirement monies.
21                                   GENERAL ALLEGATIONS
22     7. On October 09, 2018, Christopher D. Dougherty and Nereida I. Dougherty
23        (“DEFENDANTS”), filed a voluntary petition for chapter 11 bankruptcy in this
24        Court.
25     8. At all times mentioned herein, Christopher Dougherty and Nereida Dougherty
26        owned, operated, managed and controlled C & N Wealth Management.
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 1     9. At all times mentioned herein, Christopher Dougherty and Nereida Dougherty
 2        owned, operated, managed and controlled C&D Professional Services, Inc.
 3     10. At all times mentioned herein, Christopher Dougherty and Nereida Dougherty
 4        owned, operated, managed and controlled RD3, Inc.
 5     11. At all times mentioned herein, Christopher Dougherty and Nereida Dougherty
 6        owned, operated, managed and controlled JTA Real Estate Holdings, LLC.
 7     12. At all times mentioned herein, Christopher Dougherty and Nereida Dougherty
 8        owned, operated, managed and controlled JTA Farm Enterprises, LLC.
 9     13. At all times mentioned herein, Christopher Doughtery and Nereida Dougherty
10        owned, operated, managed and controlled JTA Cattle & Hay Broker Services.
11     14. At all times mentioned herein, Christopher Doughtery and Nereida Dougherty
12        owned, operated, managed and controlled JTA Private.
13     15. Upon information and belief, Christopher Dougherty repeatedly lied about his
14        “certification” as a financial manager.
15     16. At all times mentioned herein, Christopher Dougherty and Nereida Dougherty
16        represented that they managed, contracted with, worked for, were employed by,
17        were agents for and/or were acting on behalf of C & N Wealth Management, C&D
18        Professional Services, Inc., TD Ameritrade, Fusion Capital Management,
19        SagePoint Financial, RD3, Inc., JTA Real Estate Holdings, LLC, JTA Farm
20        Enterprises, LLC, JTA Cattle & Hay Broker Services and JTA Private, among
21        others.
22     17. At all times mentioned herein, Christopher Dougherty and Nereida Dougherty
23        represented they were licensed to give financial advice.
24     18. DEFENDANTS entered into an agreement (hereinafter “Agreement”) with
25        PLAINTIFFS. The Agreement provided that DEFENDANTS would invest, sell and
26        reinvest PLAINTIFFS’ investment proceeds with PLAINTIFFS’ approval.
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 1         19. DEFENDANTS entered into a “Non-Discretionary Investment Advisory Services”
 2            agreement (hereinafter “Agreement”) with PLAINTIFFS.            The Agreement
 3            provided that DEFENDANTS would invest, sell and reinvest PLAINTIFFS’
 4            investment proceeds with PLAINTIFFS’ approval.            However, DEFENDANTS
 5            utterly failed to abide by the Agreement.
 6         20. Prior to filing the petition, DEFENDANTS deceived PLAINTIFFS into turning over,
 7            under the guise of “investing”, $320,000 (hereinafter “investment. In truth, the
 8            DEFENDANTS wrongfully converted PLAINTIFFS’ investment into personal and
 9            business expense funds for their own misuse without investing the money as
10            agreed to and directed by PLAINTIFFS.
11         21. PLAINTIFFS continue to be part of an ongoing financial scam by the
12            DEFENDANTS which continues beyond the date of this Bankruptcy filing. Since
13            the filing of this Bankruptcy case, DEFENDANTS continue to contact and solicit
14            funds from these, and other creditors, demanding more monies through the use
15            of continued intimidation and fraud.
16         22. DEFENDANTS lured PLAINTIFFS into believing DEFENDANTS would invest
17            their money into various financial vehicles, allowing the PLAINTIFFS to realize
18            returns on their investment in the form of interest payments and capital growth
19            over time.
20         23. DEFENDANTS lied.
21         24. PLAINTIFFS money was not invested into legitimate investment account(s) but
22            rather was used for business expenses, credit card payments, vehicle expenses
23            (car detailing, car repairs, uber), car payments, payroll expenses, insider
24            payments, personal retirement accounts, travel, entertainment and payments to
25            other “investors” creating a Ponzi scheme, among others.
26   ///
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 1                                    FIRST CLAIM FOR RELIEF
 2            (Non-Dischargeability against the Christopher Dougherty and Nereida
 3                     Dougherty Pursuant to 11 U.S.C. Section 523(a)(2)(A))
 4         25. PLAINTIFFS reallege and incorporate by reference all paragraphs mentioned in
 5            this Complaint as though fully set forth herein.
 6         26. Pursuant to 11 U.S.C. Section 523(a)(2), a debtor is not discharged from debt
 7            “for money, property services or an extension, renewal, or refinancing of credit, to
 8            the extent obtained by (A) false pretenses, false representation, or actual fraud...”
 9         27. Based upon the actions and false representations of DEBTORS, PLAINTIFFS
10            were induced to and did, invest their funds with DEBTORS.
11         28. DEBTORS knew they were making false statements to the PLAINTIFFS.
12         29. DEBTORS made deceptive statements to the PLAINTIFFS.
13         30. DEBTORS intended to deceive the PLAINTIFFS.
14         31. PLAINTIFFS justifiably relied on the DEBTORS’ statements when they invested
15            money with the DEBTORS.
16         32. PLAINTIFFS damage was proximately caused by PLAINTIFFS reliance on the
17            DEBTORS’ statements and conduct.
18   ///
19   ///
20   ///
21   ///
22                                  SECOND CLAIM FOR RELIEF
23   (Nondischargeability against the Christopher Dougherty and Nereida Dougherty
24                            Pursuant to 11 U.S.C. Section 523(a)(4))
25         33. PLAINTIFFS reallege and incorporate by reference all paragraphs mentioned in
26            this Complaint as though fully set forth herein.
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 1     34. Pursuant to 11 U.S.C. Section 523(a)(4), a debtor is not discharged from debt,
 2        “for fraud or defalcation while acting in a fiduciary capacity, embezzlement or
 3        larceny.”
 4     35. DEBTORS were acting as fiduciaries and owed a fiduciary duty and to act in good
 5        faith in the best interest of their clients PLAINTIFFS.
 6     36. DEBTORS breached their fiduciary duty by using the PLAINTIFFS investment for
 7        purpose(s) other than those agreed upon by the PLAINTIFFS, thereby divesting
 8        PLAINTIFFS of their money.
 9     37. DEBTORS entrusted their property to DEBTORS because they trusted
10        DEBTORS and relied upon their representations, statements, writings and
11        statements. DEBTORS fraudulently used PLAINTIFFS’ money for their own
12        benefit and deprived PLAINTIFFS of the use of their money.
13     38. As a result of DEBTORS’ fraud and/or defalcation while acting in a fiduciary
14        capacity and/or embezzlement and/or larceny, PLAINTIFFS’ debt should be
15        adjudicated non-dischargeable pursuant to 11 U.S.C. Section 523(a)(4).
16                                  THIRD CLAIM FOR RELIEF
17   (Nondischargeability against the Christopher Dougherty and Nereida Dougherty
18                           Pursuant to 11 U.S.C. Section 523(a)(6))
19     39. PLAINTIFFS reallege and incorporate by reference all paragraphs mentioned in
20        this Complaint as though fully set forth herein.
21     40. Pursuant to 11 U.S.C. Section 523(a)(6), a debtor is not discharged from debt,
22        “for willful and malicious injury by the debtor to another entity or to the property of
23        another entity.”
24     41. DEBTORS represented to PLAINTIFFS that their funds would be invested into tax
25        free municipal bonds. DEBTORS further represented to PLAINTIFFS that the
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 1        accounting, paperwork, oral and written statements provided by DEBTORS were
 2        accurate and truthful.
 3     42. DEBTORS’ representations to PLAINTIFFS were false and were intended to
 4        fraudulently induce PLAINTIFFS to continue “investing” funds with DEBTORS.
 5     43. DEBTORS actions were willful and malicious and were intended to injure
 6        PLAINTFFS by depriving PLAINTIFFS of their money.
 7     44. As a result of DEBTORS’ willful and malicious conduct, PLAINTIFFS’ debt should
 8        be adjudicated non-dischargeable pursuant to 11 U.S.C. Section 523(a)(6).
 9                                 FOURTH CLAIM FOR RELIEF
10   (Nondischargeability against the Christopher Dougherty and Nereida Dougherty
11                        Pursuant to 11 U.S.C. Section 523(a)(12)
12     45. Plaintiffs reallege and incorporate by reference all paragraphs mentioned in this
13        Complaint as though fully set forth herein.
14     46. Upon information and belief, DEBTORS’ actions also “constitute malicious or
15        reckless failure to fulfill any commitment by the debtor of a Federal depository
16        institutions regulatory agency to maintain the capital of an insured depository
17        institution…” as defined in 11 U.S.C. Section 523(a)(12).
18     47. As a result of DEBTORS’ violation of 11 U.S.C. Section 523(a)(12), PLAINTIFFS
19        have suffered damages in an amount not presently ascertained but believed to
20        be in excess of $285,000 which should be exempt from discharge in the
21        DEBTORS’ bankruptcy.
22     48. Based on the foregoing violation of 11 U.S.C. Section 523(a)(12), PLAINTIFFS
23        request that the debt owed to PLAINTIFFS be deemed non-dischargeable in
24        DEBTORS’ bankruptcy.
25                                    FIFTH CLAIM FOR RELIEF
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 1   (Nondischargeability against the Christopher Dougherty and Nereida Dougherty
 2                          Pursuant to 11 U.S.C. Section 523(a)(19)
 3     49. Plaintiffs reallege and incorporate by reference all paragraphs mentioned in this
 4        Complaint as though fully set forth herein.
 5     50. Pursuant to 11 U.S.C. Section 523(a)(19), a debtor is not discharged from debt,
 6        for violating Federal Securities law, state securities laws, or violation of any
 7        regulation within Federal Securities law and state securities laws. 11 U.S.C.
 8        Section 523(a)(19) holds a debtor is not discharged from debt for “common law
 9        fraud, deceit, or manipulation in connection with the purchase or sale of any
10        security.”
11     51. Upon information and belief, DEBTORS engaged in Securities Fraud in violation
12        of Federal and State laws.
13     52. Based on the foregoing violation of 11 U.S.C. Section 523(a)(19), PLAINTIFFS
14        request that the debt owed to PLAINTIFFS be non-dischargeable in DEBTORS
15        bankruptcy.
16                                      PRAYER FOR RELIEF
17         PLAINTIFFS pray for judgement on the Complaint as follows:
18         1. Denial of Discharge of the Debt owed to PLAINTIFFS;
19         2. For interest on all amounts owed, attorneys’ fees and costs as provided for
20            by Contract, Statute, Equity and all other theories and as awarded by this
21            Court; and
22         3. For such other and further relief as the Court deems just and proper.
23

24
                                               LAW OFFICES OF MARK L. MILLER
25
     Dated: January 5, 2019                    /S/ MARK L. MILLER
26                                             ______________________________
                                               Mark L. Miller, Esq. for PETITIONER
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                                      OF DEBTS
